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BELLEVUE 1

AGREEMENT BETWEEN THE
CITY OF BELLEVUE
AND

AFSCME LOCAL 2571, AFL-CIO

GROUP 1

April 1, 2013
thru
March 31, 2016

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SECTION 8. - The Employer shall provide bulletin boards for AFSCME Local 2571, Ohio
Council 8. Such bulletin boards shall be placed in all work areas where employees usually
congregate. The Union shall post meeting notices, legislative bulletins, and other pertinent
information relating to Union activity.

The Union agrees not to post any material of a scandalous, scurrilous, or derogatory nature about
the City Administration and/or any candidate for public or Union office, nor any personal attack
upon any other employee of the City.

SECTION 9.

A. The Employer and the Union agree that membership in the Union is available to all
employees in the bargaining unit, as has been determined herein after thirty (30) days
employment.

B. The initial probationary period shall be one hundred and twenty days for all employees
covered under the Public Employees Retirement System.

SECTION 10. - The Employer agrees to deduct regular Union membership dues once per month
from the pay of any employee eligible for membership in the Bargaining Unit upon receiving
written authorization signed individually by the employee. The signed payroll deduction form
must be presented to the Employer by the Union President and/or Union Treasurer. Upon receipt
of proper authorization, the Employer will deduct Union dues from the payroll checks for the pay
period in which the deduction was received by the Employer.

Payroll deduction authorization shall be on a form provided by the Union and approved by the
Employer.

It is specifically agreed that the Employer assumes no obligation, financial or otherwise, arising
out of the provision of this Section and the Union agrees that it will indemnify and hold the
Employer harmless from any claims, actions, or proceedings by any employee arising out of
deductions made by the Employer hereunder. Once the funds are remitted to the Union, their
disposition thereafter shall be the sole and exclusive obligation and responsibility of the Union.

The Employer shall be relieved from making such "check-off" deduction upon (a) termination of
employment, or (b) transfer to a job not covered by the Bargaining Unit, or (c) lay-off from
work, or (d) and agreed leave of absence and/or revocation of the "check-off".

The Employer shall not be obligated to make dues deductions of any kind from an employee,
who during any dues month involved, shall have failed to receive sufficient wages to equal the
dues deduction.

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It is agreed that neither the employees nor the Union shall have any claim against the Employer
for errors in the processing of deductions unless a claim of error is made to the Employer, in
writing, within 90-days after such error is claimed to have occurred. If such an error is found, it
will be corrected at the next pay period in which Union dues will normally be made. Payroll
collection of dues shall be authorized for the exclusive Bargaining Agent only and for no other
organization attempting to represent the employees within the Bargaining Unit as herein
determined.

One month advance notice shall be given the payroll clerk and City Auditor prior to making any
changes in the individual's dues deduction. The Employer agrees to furnish the Treasurer of the
Union a warrant in the aggregate amount of the deductions.

Deductions provided for in this Section shall be made during one pay period each month. In the
event a deduction is not made for any Union member during any particular month, the Employer,
upon written verification of the Union, will make the appropriate deduction at the next dues
deduction period if the dues deductions do not exceed the total of two months regular dues.

Each eligible employee's written authorization for dues deduction shall be honored by the
Employer for the duration of this agreement and/or the term of recognition of the Union.

SECTION 11. - The Union shall indemnify, defend, and hold the City, its agents and employees
harmless against any claim, demand, suit, or liability (monetary or otherwise), and for all legal
costs arising from any action taken or not taken by the City, its officers, officials, agents, and
employees in complying with this Article.

ARTICLE 3
PLEDGE AGAINST DISCRIMINATION AND COERCION

SECTION 1. - The provisions of this Agreement shall be applied equally to all applicants for
employment, as well as to all employees in the bargaining unit without discrimination as to age,
sex, marital status, race, color, creed, national origin, ancestry, citizenship, veteran status,
handicap, disability, political opinions or affiliation, The Union shall share equally with the
Employer the responsibility for applying this provision of the Agreement.

SECTION 2. - All references to employees in this Agreement shall designate both sexes, and
wherever male or female gender is used it shall be construed to include both female and male

employees.

SECTION 3. - The Employer agrees not to interfere with the rights of employees within the
bargaining unit to become or remain members of the Union, and there shall be no discrimination,
interference, restraint, or coercion by the Employer or the Employer's representatives against any
employee representative acting in an official capacity on behalf of the Union.

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SECTION 4. - There shall be no discrimination, interference, restraint, or coercion by the Union
or its representatives against any employee within the bargaining unit exercising the right to join
or abstain from membership in the Union or participating in the Union.

SECTION 5. - The Union recognizes its responsibility as bargaining agent and agrees to
represent all employees in the bargaining unit without discrimination, interference, restraint, or

coercion.

ARTICLE 4
PROGRESSIVE DISCIPLINARY PROCEDURE

SECTION 1. - No employee shall be disciplined without just cause. If the employee is
suspected of charges wherein dismissal or reduction in pay is likely to result, the Employer shall
serve the Union a copy of the specified charges and shall first have a hearing with a Union

Representative present.
SECTION 2. - Disciplinary action shall consist of the following, in this order:
A. First violation will subject the employee to no more than an oral reprimand.

B. After the second occurrence of a similar violation, and having had an oral reprimand, the
employee is subject to no more than a written reprimand.

c. Upon the third occurrence of a similar violation, and after having had an oral and a
written reprimand, the employee is subject to a suspension of no more than one day.

D. Continued violations after the previous steps have been taken may subject the employee
to a suspension of not more than three days.

E. Continued violations after the previous steps have been taken may subject the employee
to further suspension or dismissal.

1. If in the event such first, second, third, or fourth violation is of such a grievous
nature as to jeopardize the safety, health or general welfare of the citizens of
Bellevue or its employees, in that event, the violations shall subject said

employees to immediate suspension or dismissal.

2. In the event the employee commits an action such as, but not limited to: stealing,
drunk on duty, etc, said employee may be suspended or dismissed pending a
proper and full hearing between the parties.

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BELLEVUE 10

SECTION 3.

A. An employee may appeal any disciplinary action through the Grievance Procedure herein
and, in the event a disciplinary action is overruled, the employee shall be fully reinstated
with all back pay and shall have his or her record cleared of those cited charges. In the
event a disciplinary action is not totally set aside, the employee shall receive back pay
and benefits as deemed appropriate by the final hearing on the appeal.

B. The parties agree that major infraction shall be considered as follows: offenses of theft,
embezzlement of public funds, being under the influence of alcoholic beverages or
abusive drugs during working hours, physical violence, offenses involving gross
misconduct or gross insubordination, and for willful and wanton violations of the work
rules and procedures of the employee shall be subject to more disciplinary action rather
than the steps of the progressive disciplinary procedures above.

Cc. Oral and written reprimands will cease to have force and effect 18 months after the
effective date of the reprimand. Suspensions shall cease to have force and effect 24
months after the effective date of the suspension. However, if there is an intervening
discipline of a similar nature during the initial time period the previous discipline will
remain active for an additional like period ( i.e. 18 or 24 months) beginning with the
effective date of the intervening discipline.

SECTION 4. - The Parties agree that any appeals regarding matters covered by this contract are

required to be filed through the grievance/arbitration procedure of this Contract only.

ARTICLE 5
GRIEVANCE/ARBITRATION PROCEDURE

SECTION 1. - The term grievance shall mean an allegation by a Bargaining Unit employee that

there has been a breach, misinterpretation, or improper application of this Agreement. The

grievance form shall identify the subject matter of the grievance and the Articles of the

Collective Bargaining Agreement allegedly violated.

SECTION 2. - All grievances must be processed at the proper step in the progression in order to

be considered at the subsequent step except for grievances involving matters which cannot be

resolved by the supervisor. Grievances shall be submitted to the lowest step of the Grievance

Procedure which contains an Employer representative who has the authority to resolve the

grievance. Any grievances shall be submitted initially at Step 1. Any grievances not answered

by management within the stipulated time limits may be advanced by the employee or the

steward to the next step in the Grievance Procedure. All time limits on grievances may be

waived upon the mutual consent of the parties.

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SECTION 3. - The following steps shall be followed in the processing of a grievance:

Step 1. A grievance must be processed through an oral discussion between the
aggrieved employee and/or the steward and the immediate supervisor as a
preliminary step prior to pursuing Step 2 of the Grievance Procedure. A
grievance must be presented at the time the incident giving rise to the
grievance occurs or within ten (10) working days after knowledge of the
grievance. If the grievance is not resolved at this step, the supervisor shall
give his written answer within two (2) working days.

Step 2. If the grievance is not satisfactory to the Employee/Union from Step No.

1, the Union/Employee shall appeal said grievance within five (5) working
days of receipt of the answer from Step 1 to the Department Head, Mayor,
and/or Safety-Service Director, whichever is appropriate.
The parties shall have a full hearing with the Employee/Union
Representative present and the Safety Service Director/Department Head
present. The hearing shall be held within five (5) working days of receipt
of said appeal grievance from Step 1 above.

The Employer representative shall give his written answer to the grievance
within five (5) working days of the hearing to the Union/Employee
Representative with the written concurrence of the Mayor.

Step 3. With mutual agreement, grievance mediation may be utilized by the
parties after Step 3 of the Grievance Procedure is completed. Either party
may request to mediate by forwarding a written request within fifteen (15)
workdays following the Step 3 answer. If the City and the Union mutually
agree to mediate, the time lines for filing a request for arbitration will be
suspended subject to the mediation procedure. A party refusing mediation
must give written notice of refusal to the other party within ten (10)
workdays of the receipt of the request to mediate. If mediation is refused,
applicable time limits for appealing a grievance to arbitration contained in
this collective bargaining agreement shall commence on the day the
refusal notice is received.

The parties agree to use the services of the Federal Mediation Conciliation
Service (FMCS), the State Employee Relations Board (SERB) or other
mutually agreed upon mediation service. Notices of mediation requests
are to be signed by both parties and forwarded to the mediator by the
moving party. Should the availability of a mediator unnecessarily delay
the processing of a grievance, in the opinion of either party, then either
party may withdraw its consent to mediation by notifying the other party
in writing. The grievance may then proceed to arbitration.

 

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Step 4.

The Union may be represented at the mediation by the President, the Chief
Steward or a Steward designated by the President, the grievant and a
representative of AFSCME Ohio Council 8. The City may in its
discretion determine the number and the makeup of its representatives.
Each party shall have one principal spokesperson at the mediation
conference, who shall have the authority to resolve the grievance.

Any written material that is presented to the mediator shall be returned to
the party presenting that material at the termination of the mediation
conference.

The mediator may, however, retain one copy of the written material to be
used solely for the purposes of statistical analysis.

Proceedings before the mediator shall be informal in nature. The
presentation of evidence is not limited to that presented at the grievance
proceedings, the rules of evidence will not apply and no record of the
mediation conference shall be made.

The mediator will have the authority to meet separately with any person or
persons, but will not have the authority to compel the resolution of the

grievance.

Should any grievance remain unsettled after the exhausting of the above
procedure, either party hereto, and only either party, shall, if the party
desires, demand arbitration within ten (10) working days after failing to
settle the grievance, by serving notice to the other party. The arbitrator
shall be appointed by mutual consent of the parties and they shall jointly
petition the Federal Mediation and Conciliation Service for a panel of
seven (7) qualified arbitrators and the parties shall select a single arbitrator

from such panel.

The arbitrator shall not be empowered to rule contrary to, to amend, to add
to, or to eliminate any provisions of this Agreement.

Expenses shall be borne equally by both parties.

SECTION 4. - The Employer and the Union will develop jointly a grievance form. The
grievance form must contain the name of the employee filing said grievance. The Union shall
have the responsibility for duplication, distribution, and their own accounting for grievance
forms. Said form shall include a space for the Employer to indicate date received and date
answered. (See Appendix B.)

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SECTION 5. - Where a group of employees desires to file a grievance involving a situation
affecting every or each Bargaining Unit employee in the same manner, one employee selected by
such group will process the grievance as a “class action” grievance.

SECTION 6. - The Parties agree that for purposes of grievances, the City Auditor and the City
Treasurer shall be considered Supervisors and Department Heads. In this event, grievances
unresolved would be appealed to Step No. 2. The Mayor and these particular Department Heads
would be involved at Step No. 2 hearing prior to any grievance being appealed directly to
Arbitration.

SECTION 7. - The parties hereby agree that employee(s) filing grievances within this
bargaining unit, on a Contract violation, must file said grievance or appeal only under this
contract.

ARTICLE 6
BREAKS DURING OVERTIME

SECTION 1. - When an employee works in excess of four (4) hours and eight (8) minutes
overtime contiguous to the regular shift or when an employee has been called out for emergency
overtime which exceeds four (4) hours and eight (8) minutes the Employer shall grant a one-half
(1/2) hour paid lunch break. An additional one-half (1/2) hour paid break shall be granted for
each additional four (4) hour and eight (8) minute period the employee works overtime. If an
employee works four (4) hours of overtime, they shall be entitled to a fifteen (15) minute break.

ARTICLE 7
WORK SCHEDULE

SECTION 1. - The Employer agrees to post all regular shift work schedules fifteen (15) days in
advance of their effective date. The posting shall be where the affected employees can see them.
Any changes in the regular work schedules shall be preceded by five days advance notice to the

affected employee.
In case of personal emergencies (i.e. funerals, sickness) schedules can be changed with a 48 hour

notice.

SECTION 2. - The Employer agrees for the life of this Agreement that it shall not split the
regular work shifts, days, and/or hours to prohibit overtime.

SECTION 3. - The Employer agrees to reduce to writing its staffing plans, including the number
of employees on any shift. Seniority will be the determining factor for shift determinations
among those employees who are qualified to do the required work. Options shall be exercised
by employees at times when death, quits, retirements, terminations occur and employees will
work their regular shifts until such time as necessary changes are required.

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BELLEVUE 45

ARTICLE 39
SEVERABILITY/CONFORMITY TO LAW

SECTION 1. - Should any article, section, or portion of this agreement be held unlawful or
unenforceable, as a result of any law, court decision, or tribunal determination, that article,
section, and/or portion thereof shall have no further force and effect. Such decisions shall apply
only to the specific article, section, or portion thereof directly specified or effected by the
decision. The parties agree to meet within thirty (30) days for the purpose of negotiating a
lawful alternative portion, section, or article.

SECTION 2. - The parties recognize that this Agreement shall be subject to all State and Federal
laws and regulations as well as the Constitution of the State of Ohio and the United States of

America.
The recognition of O.R.C. 4117 shall not supersede the provisions of this Agreement.

ARTICLE 40
NO STRIKE/NO LOCKOUT

Inasmuch as this Agreement provides a mechanism for the orderly resolution of grievance, and
inasmuch as the Employer and the Union recognize their responsibilities to provided
uninterrupted services to the citizens of Bellevue:

SECTION 1. - The Union agrees that it, its officers, agents, representatives, employees, or
members will not authorize, instigate, cause, aid, condone, or participate in any strike, work
stoppage, concerted slowdown, or any other interruption of the operations of services of the
Employer by members of the Union. When the Employer notifies the Union in person or by
certified mail that any of its members are engaged in any job action as outlined above, the Union
shall immediately and conspicuously post notice over the signature of an authorized
representative of the Union notifying the employees that a violation is in progress and shall
instruct all employees to return to work and/or to cease in the prohibited activity.

Should the Union fail to post the notice or should the employees fail to cease the prohibited
activity, the Employer shall have the option of invoking disciplinary action against the
employees involved and/or the Union.

SECTION 2. - The Employer agrees that neither it, its officers, agents, representatives
individually or collectively, will authorize, instigate, cause, aid, or condone any lockout of
members of the Union unless these members have violated Section 1 of this Article.

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ARTICLE 41
WAGES

Effective 8-29-10 increase base by 5 % (See Section | below)

On the second and third anniversary dates of this Agreement, the Parties shall re-open
negotiations on the issue of wages only. If the parties are unable to agree to wages for either the
second or third year, then the Parties shall have all rights provided for by law except there shall
be no fact-finding or other alternative dispute resolution available.

 

SECTION 1. sot
JOB RATES/BASE RATES: 04-01-13 04-01-14 04-01-15
3% 2% 2%
Waste Water Treatment Operator 21.02 21.44 21.87
Waste Water Treatment Crew Leader 23.33 23.80 24.28
Waste Water Treatment Operator/
Preventative Maintenance Technician 22.67 23.12 23.58
Laboratory Technician 21.02 21.44 21.87
Laboratory Technician in Training 16.74 17.07 17.41
Composting Bio-Solids Reuse Technician 22.67 23.12 23.58
Sewer/Water Maintenance Worker I 20.66 21.07 21.49
Sewer/Water Maintenance Worker II 21.91 22.35 22.80
Maintenance Technician - Sewer 22.67 23.12 23.58
Cemetery Sexton Crew Leader 23.33 23.80 24.28
Cemetery Worker 22.09 22.53 22.98
Quality Assurance Director 21.02 21.44 21.87
Secretary 19.24 19.63 20.02
Finance Clerk I 16.78 17.11 17.46
Finance Clerk II 19.24 19.63 20.02

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BELLEVUE 47

 

04-01-13 04-01-14 04-01-15
3% 2% 2%
Finance — Lead Person 19.93 20.33 20.74
Meter Reader 21.91 22.35 22.80
Water Treatment Plant Operator 21.02 21.44 21.87
Water Treatment Plant Crew Leader 23.33 23.80 24.28
Water/Sewer Maint. Worker I - Distribution 20.66 21.07 21.49
Water/Sewer Maint. Worker II - Distribution 21.91 22.35 22.80
Water/Sewer Maint. Crew Leader - Distribution 24.22 24.70 25.19
Maintenance Technician - Water 22.67 23.12 23.58
Laborer 20.66 21.07 21.49
Maintenance Technician — Street 22.67 23.12 23.58
Street Maintenance Worker I 20.66 21.07 21.49
Street Maintenance Worker II 21.91 22.35 22.80
Street Maintenance Crew Leader 23.33 23.80 24.28
Maintenance — Electrician - Service Dept. 23.53 24.00 24.48
Maintenance — Plumber — Service Dept. 23.53 24.00 24.48

Normal add “on’s” per F.L.S.A. for on overtime!

SECTION 2. - Water Treatment Plant Operators and Waste Water Treatment Operator(s) shall
receive additional pay for obtaining licenses in their field in accordance with the following
schedule. This shall be in addition to the hourly rate set forth in Section 1, 2 and 3 and shall be
considered part of their base rate of pay:

Class I $0.47 per hour
Class II $0.71 per hour
Class ITI $0.99 per hour

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These amounts shall not be cumulative; i.e. the employee shall be paid for his/her highest license
only. In addition, water operators receiving state certification for lab tests shall be paid $0.10 per
hour for each of such certifications to a maximum of an additional $0.30 per hour.

Bacteriological certification for Water Treatment Plant Operators shall pay an additional $0.30
per hour.

SECTION 3. - The Waste Water Pollution Control, Quality Assurance Director shall, upon
attaining both a Laboratory #1 certification and a Waste Water Pollution Control, Class #1
License shall be paid an additional $0.71 cent per hour. Upon attaining both Laboratory #2,
certification and a Waste Water Pollution Control Class #2 License, the Waste Water Pollution
Control, Quality Assurance Director shall be paid an additional $0.99 cents per hour.

SECTION 4. - Upon obtaining a Collection License, Water/Sewer Maintenance Worker #1,
Water/Sewer Maintenance Workers #2 and Water/Sewer Maintenance Crew Leaders
permanently assigned to the Waste Water Pollution Control Collection systems shall be paid an
additional $0.30 cents per hour for Class #1; $0.50 cents per hour for Class #2; and $0.75 cents

per hour for Class #3.

SECTION 5. - Upon obtaining a Distribution License, Sewer/Water Maintenance Workers 1,
Sewer/Water Maintenance Workers 2, and Sewer/Water Maintenance Crew Leaders permanently
assigned to the Water Distribution system shall be paid an additional $0.30 per hour for Class 1,
$0.50 for Class II and $0.75 for Class III.

SECTION 6. - Employees required to possess a Commercial Driver’s License shall be paid an
additional $0.20 per hour.

SECTION 7. - Effective September 26, 2010, employees shall pay their individual employee
contribution to O.P.E.R.S.

ARTICLE 42
P.E.O.P.L.E.

SECTION 1. - Effective 4-1-05, the Employer will deduct from employees earnings, voluntary
P.E.O.P.L.E. deductions to the National P.E.O.P.L.E. Committee, and submit monthly any such
voluntary contributions to the P.E.O.P.L.E. Qualified Committee, AFSCME, AFL-CIO, P.O.
Box 65334, Washington, D.C. 20035, along with the appropriate listings.

SECTION 2. - This voluntary payroll deductions shall be on the appropriate card as reflected in
Appendix __.

SECTION 3. - The Union, upon receipt of any such funds, holds the Employer harmless from
any claims, as a result of these deductions.

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ARTICLE 43
DURATION

SECTION 1. — Except as otherwise provided herein, this Agreement shall be effective as of
April 1, 2013, and shall remain in force and effect until 12:00 midnight March 31, 2016,
provided however; that it shall be renewed automatically on its termination date for another year
in the form that it is written, unless either party gives written notice to the other party of their
desire to negotiate, modify or amend this Agreement. The party desiring to negotiate, modify or
amend this Agreement shall give written notice no earlier than ninety (90) calendar days and not
later than sixty (60) calendar days prior to the expiration of this Agreement. The parties shall
commence negotiations within two weeks of receipt of such notice of intent to negotiate.

SECTION 2. - In the event either party desires to terminate this Agreement, written notice must
be given to the other party no less then ten (10) days prior to the desired termination date, which
shall not be the anniversary date set forth herein.

SECTION 3. - The parties may utilize the services of the Federal Mediation and Conciliation
Service, U.S. Government, provided both parties mutually agree, or the State Employment

Relations Board and ORC 4117 provisions. In the initial meeting between the parties, the parties
shall establish guidelines for the conduct of negotiations.

IN WITNESS WHEREOF, the parties have executed this instrument at Bellevue, Ohio, this
Ves. day of May , 2013.

FOR THE UNION: FOR THE EMPLO

Qa

   

 

 

oe os: of. 13 DATE: J °4/3
SIDE LETTER

As regards to the Employee (4-8-02) Handbook, the Union hereby elects not to file a grievance on the fact
the Employer created a handbook.

The Union may at a later date file grievances over the application(s) of said handbook.
° AFSCME CONTRACT 1 2013-2016

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BELLEVUE 49

 
 

  
    

     

 

 

 

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State Employment Relations Board Clearinghouse E ge %
Benchmark Report Sic ff
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R February 04, 2016 6869-169-008 GVONAd
+ Effective Entry Top Hours! Hours! #of ‘Step
CQ Employer Population County Union Local BU Ske StartDate End Date Date Level Level Week Day Steps Years
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@ ELECTRICIAN
OL ASHTABULA CITY 20,962 ASHT AFSCME8 1197 WW 56 05/012 04/3045 05/01/14 $43,638.40 $43,638.40
09 CHILLICOTHE CITY 21,901 ROSS AFSCMEB 1562 MU 106 O9/01/14 08/31/17 09/01/14 $43,305.60 $48,214.40 40.00 8.00 6 6
as CLEVELAND HEIGHTS CITY 46,121 CUYA NPW 707) BC 106 = 04/01/14 = 03/3415 -04/01/14 $37,772.80 $47,715.20
© ELYRIA CITY ‘ 54,533 LORA AFSCME8 277° WW 167 9/01/14 08/31/15 09/01/44 $36,887.97 $40,352.42 40.00 8.00 3
<O EUCLID CITY 48,920 CUYA IBT 244 BC 11 01/01/15 12/31/17 01/01/16 += $57,012.80 $57,012.80 40.00 8.00 1
EUCLID CITY 48,920 CUYA AFSCME8 2509 BC 29 0101/15 12/34/17 04/01/15 $53,352.00 $53,352.00 40.00 800 14
'S LAKEWOOD CITY 52,131 CUYA AFSCMEB 1043 BC 111 01/014 12/3116 01/01/15 $49,566.40 $54,828.80 40.00 800 3 2
< MARION CITY 36,837 MARI AFSCMES 1158 MU 64 04/01/13 03/34/16 04/01/14. $34,632.00 $47,860.00 40.00 8
© OBERLIN CITY 8,286 LORA IBEW 39 MU 3801/01/15 12/31/17 01/01/15 $53,580.80 $53,580.80 40.00 8.00 14
‘N PARMA HEIGHTS CITY 20,718 CUYA MFLU 1099 BC =. 200 01/01/15 12/81/17 O1/01/16 += $53,705.60 $53,705.60 40.00 8.00 1
. .ROCKY RIVER CITY 20,213 CUYA IAM 54 MU 37 01/0113 12/3115 01/0115 $49,545.60 $52,332.80 40.00 8.00 4
‘DROCKY RIVER CITY 20,213 CUYA * RRWE MU 15° «(01/04/44 = 12/31/16 += -07/01/15 $51,937.60 $56,056.00 40.00 8.00 2
TL SANDUSKY CITY 25,793 ERIE AFSCME8 1519 WW 84 01/0193 12/31/15 01/01/15 «$37,362.00 $49,793.00 40.00 800 6
MICREFE CMY. ______12750___ LAKE MFLU 1009 BC___22 o1m¥is_12/a15 OWNS $59,238.40 $60,320.00 40.00 800 2 _
a Count of Employers: 14 Average: $47,252.71 $51,340.16
“LABORER
AMHERST CITY 41,797 LORA AFSCME8 277° MU 23 O1/01/14 12/31/16 0101/15 $38,812.80 $38,812.80 40.00
(SASHTABULA CITY 20,962 ASHT AFSCME8 1187 WW 56 05/012 04/30/15 05/01/14 $39,811.20 $39,811.20 40.00 1 3
AVON CITY 21,193 LORA AFSCME8 277° MU 34 +8 01/01/13 12/31/15 = “O1/04/15 $44,579.20 $50,086.40 40.00 6 5
OAVON LAKE CITY 22,581 LORA  UPIU 1-836 BC 621 = 070114 = 08/30/17 O70115 $46,633.60 $57,449.60 40.00 8.00 5
EACHWOOD CITY 11,953 CUYA NPW 707) BC 410 11/04/14 10/8117 11/0115 $51,022.40 $57,116.80 40.00 8.00 9 25
BEDFORD CITY 43,074 CUYA | AFSCME8 2007 MU 46 O921/15 12/3116 3/0116 $49,056.80 $54,683.20 40.00 5
SIBEDFORD HEIGHTS CITY 10,751 CUYA IBT 36 BC 34 01/01/14 12316 01/0116 $38,355.20 $51,084.80 40.00 4 3
—BEREA CITY . 49,093 CUYA  MFLU 1099 BC 31 0101/13 12/81/15 = O1/01/15 $34,923.20 $44,990.40 40.00 300 3 4
GBROADVIEW HEIGHTS CITY 19,400 CUYA “ABH BC 27) —O7/01/14 = 12/81/16 = 01/01/16 + $24,991.20 $27,768.00 40.00 3
CBROOKLYN CITY 411,169 CUYA MFLU 1099 BO 8624 = ON/113. 12815 = 04/01/14 $42,556.80 $53,214.72 40.00 5
<CBUCYRUS CITY 12,362 CRAW AFSCME8 1728 MU 36 01/01/14 124/16  O1/01/15 $25,937.60 $38,916.80 40.00 4 25
= PHILLICOTHE CITY 21,901 ROSS AFSCME8 1562 MU 106 09/01/14  O8/31/17 09/01/14 $35,235.20 $38,688.00 40.00 8.00 6 6
. CIRCLEVILLE CITY 13,314 PICK * NUEO MU 29 =«OSIIO/15,«OS/OB/17«OS/10/15 $26,561.60 $35,048.00 40.00 8.00 4
GPLEVELAND HEIGHTS CITY 46,121 CUYA NPW 707 BC 106040114 = 03/31/15 04/01/14 $33,176.00 $41,308.80
O , Page 1 of 7

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State Employment Relations Board Clearinghouse
O Benchmark Report
2 February 04, 2016
tf Effective Entry Top Hours! Hours! #of Step
Q Employer Population County Union Local BU Size StartDate End Date Date Level Level! Week Day Steps Years
© COLUMBUS CITY 711,470 .FRAN AFSCME8 1632 MU 2,263 04/01/14 03/31/17 04/01/45 $30,222.40 $39,270.40 40.00 8
- COLUMBUS CITY 711,470 FRAN AFSCME8 2191 HE 262 (04/01/14 03/31/17 04/01/15 $26,852.80 $36,940.80 40.00 15
_ EASTLAKE CITY 18,577 LAKE AFSCME8 3058 MU 17 01/01/14 12/31/16 04/04/45 $28,059.20 $41,059.20 40.00 8.00 6
© ELYRIA CITY 54,533 LORA AFSCME8 277 WW 167 09/01/14 08/31/15 «09/01/14. $28,766.40 $36,831.60 40.00 8.00 3
4. EUCLID CITY 48,920 CUYA AFSCME8 2509 BC 29 01/0115 12/31/17 01/01/15 $40,019.20 $40,019.20 40.00 800 1
7 EUCLID CITY 48,920 CUYA IBT 244 «=BC O 01/0145 12/3117 01/01/16 $35,900.80 $35,900.80 40.00 800 1
<4 EUCLID CITY 48,920 CUYA BT 244 BC 11 8 (O101NS § «12/3117 = 01/01/16 $41,496.00 $41,496.00 40.00 8.00 1
N. FAIRVIEW PARK CITY 16,826 CUYA AFSCME8 2681 MU 33 01/01/14 12/31/16 01/01/15 $43,076.80 $50,731.20 40.00 5
SJ GARFIELD HEIGHTS CITY 28,849 CUYA AFSCME8 2729 WW 34 01/0143 12/3115 01/01/13 $36,400.00 $42,536.00 40.00 800 4 1.5
6S GENEVA CITY 6,597 ASHT —_LIUNA 860 BC 4 01/01/13 12/8145 01/01/15 $24,772.80 $27,560.00 40.00 8.00 7
(J GRANVILLE VILLAGE 5,646 LICK = AFSCME8 2963 MU 11 01/015 12/31/17 01/01/15 $23,661.00 $35,736.00 40.00 8.00 10 11
1 HEATH CITY 10,310 LICK AFSCME8 3439 MU 33 04/01/14 03/31/17 01/01/15 $27,724.50 $33,339.30 40.00 800 5
“_j LAKEWOOD CITY 52,131 CUYA AFSCME8 1043 BC 111 01/01/14 12/3116 01/01/15 $33,009.60 $42,993.60 40.00 8.00 5 25
‘DLORAIN CITY 64,097 LORA USWA 6621 WW 171 10/01/11 09/30/14 10/01/12 $26,936.00 $29,910.40 40.00 3
LLLYNDHURST CITY 14,004 CUYA LIUNA 860 MU 22 O1/01/15 12/317 01/01/15 $41,600.00 $41,600.00 40.00
— MANSFIELD CITY 47,821 RICH AFSCME8 3088 WW 138 05/01/15 04/30/18 += 05/01/15 $21,611.00 $34,886.00 40.00 3
cy MARION CITY 36,837 MARI AFSCME8 1158 MU 64 04/01/13 O3/S1/16 04/01/14 $28,745.60 $40,164.80 40.00 8
CO MAYFIELD HEIGHTS CITY 19,155 CUYA USCMWO “= BC 24 =O10115 = 12/8117 = 01/01/15 $23,982.40 $52,187.20 40.00
4{MIDDLEBURG HEIGHTS CITY _— 15,946 CUYA LAPSW BC 28 8601/0113 12/81/14 01/01/14 $47,361.60 $49,296.00 40.00 2
CONORTH OLMSTED CITY 32,718 CUYA AFSCME8 2681 BC 46 07/015 06/30/18 07/0145 $43,035.20 $50,523.20 40.00 8.00 4 3
ANORTH RIDGEVILLE CITY 29,465 LORA AFSCME8 3442 MU 74 01/0144 12/3116 01/01/15 $32,552.00 $41,787.20 40.00 8.00 6
PARMA CITY 81,601 CUYA * PSw BC 77 04/01/11 03/31/15 04/0115 $48,796.80 $48,796.80 40.00 8.00 1
OPICKERINGTON CITY 18,291 FAIR AFSCMEB 1822 MU 25 O4/0113 12/3115 12/24/14 $35,630.40 $43,368.00 40.00 6
Op ORTSMOUTH city 20,226 SCIO| AFSCME8 1039, MU 98 05/01/12 04/30/15 05/01/13 $21,132.80 $24,793.60 40.00 800 3
N.POWELL CITY 11,500 DELA AFSCME8 BC 7 106/14 10/1517 10/15/44 $34,049.60 $44,241.60 40.00 800 6 6
ROCKY RIVER CITY 20,213 CUYA IAM 54 MU 37 01/01/13 12/815 = O1/01/15 $43,700.80 $44,449.60 40.00 8.00 4
“SEVEN HILLS CITY 11,804 CUYA AFSCME8 3557 BC 17 01/01/14 12/31/16 01/01/15 $43,763.20 $43,763.20 40.00 38.00
{SHAKER HEIGHTS CITY 28,448 CUYA  IBT° 50r BC = 70 010115 = 12/31/17 01/01/15 $49,275.20 $49,275.20 40.00 8.00 14
OSHELBY CITY 9,317 RICH = IUOE 18S WW 38 0219/13 12/3115 = 01/01/15 $38,272.00 $42,369.60 40.00 8.00 4
(OSOUTH EUCLID CITY 22,295 CUYA AFSCME8 2319 BC 19 04/0192 12/31/14 01/04/14 $34,923.40 $40,892.80 40.00 8.00 5 3
= UNIVERSITY HEIGHTS CITY 13,539 CUYA NPW. 707) BG 24 06/30/14 = 06/30/17 «O7/01/15 $43,388.80 $50,481.60 40.00 800 3 3
. WARRENSVILLE HEIGHTS CITY 13,542 CUYA BT 244 BO 26 O1M1N5 § 12/91/17 01/0116 $33,113.60 $33,113.60 1
CANICKLIFFE city 12,750 LAKE  MFLU 1099 BC 22 ON0113 12/81/15 01/01/15 $39,728.00 $54,766.40 40.00 8.00 5
O Page 2 of 7
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Ohio Council 8 1556

 
State Employment Relations Board Clearinghouse

 

 

sj Benchmark Report
i February 04, 2016
te Effective Entry Top Hours/ Hours/ #of Step
CQ Employer Population County Union Loca! BU Size StartDate End Date Date Level Level Week Day Steps Years
2 WILLOUGHBY CITY 22,268 LAKE AFSCME8 1657 BC 37s 04/01/13, «03/31/16 = -03/22/15 $43,534.40 $44,158.40 40.00 8.00 3
Gr WLLOWIGK CITY __ 14471 LAKE AFSCMES 688 BC 17 OWN 12H OVINE $29,778.93 _$45.31483 4000 800 7 6
os Count of Employers: 49 Average: $35,786.19 $42,459.87
S MAINT REPAIR WKR e
3 ASHTABULA CITY 20,962 ASHT AFSCME8 1197 WW 56 05/01/12 04/30/15 05/01/14 $40,560.00 $40,560.00 40.00 1 3
<1 BEXLEY CITY 13,057 FRAN AFSCMES 3838 BC 20 01/04/13 12/315 04/01/15 $31,116.80 $54,059.20 40.00 800 4
nm BROADVIEW HEIGHTS CITY 19,400 CUYA *ABH BC 2707/01/44 = 12816 = O1/01/16 += $36,148.92 $40,164.80 40.00 3
<1 BROOKLYN CITY 11,169 CUYA MFLU 1099 BC 24 «= O10113 = 12/8115 «01/01/14 = $43,056.00 $53,842.88 40.00 5
8 CHARDON CITY 5,148 GEAU AFSCME8 3824 BC 18 = 06/30/14 O6/25/17 06/30/14 $33,467.20 $42,702.40 40.00 6
qi CIRCLEVILLE CITY 13,314 PICK = * NUEO MU 29 —sOS/10/15 05/08/17,“ OSM0/15 $27,830.40 $36,774.40 40.00 8.00 4
1 DELAWARE CITY 34,753 DELA * WWT BC 15 01/01/14 12/34/16 ~=—-01/01/15 $31,553.60 $39,020.80 40.00 800 5
5 DUBLIN CiTY 41,751 FRAN USWA “~ BC 72 = 09/0113 = 08/81/16 = 04/01/15 = $41,633.95 $58,644.00 40.00 8.00 12
@ EASTLAKE CITY 18,577 LAKE AFSCME8 3058 MU 17 1/01/14 12/81/16 01/01/15 $28,267.20 $41,704.00 40.00 800 6
LL FAIRVIEW PARK CITY 16,826 CUYA AFSCME8 2681 MU 33 1/01/14 12/1/16 01/01/15 $43,825.60 $54,604.80 40.00 5
— GARFIELD HEIGHTS CITY 28,849 CUYA AFSCME8 2728 WW 34 01/01/13 = 12/31/15 =—-01/04/13 $42,244.80 $42,244.80 40.00 8,00 1 1
cy GENEVA CITY 6,597 ASHT —LIUNA 860 BC 4 01/0113 1218195 041/015 $29,952.00 $42,785.60 40.00 8.00 7
©) HILLIARD CITY 28,435 FRAN USWA ooo =BC 86028 )— 01/0115 128417 = O1/0115 $37,881.92 $57,778.39 40.00 8,00 6 5
+ HURON CITY 7,149 ERIE AFSCME8 2024 MU 10 01/013 12/3114 01/01/14 $34,257.60 $43,950.40 40.00 8.00 4
2 INDEPENDENCE CITY 7,133 CUYA AFSCME8 23389 BC 25 1/0113 1281/15 O1/01/15 + $30,035.20 $49,524.80 40.00 8.00 7
QQ: MANSFIELD CITY 47,821 RICH = AFSCME8 3088 WW 138 5/015 04/30/18 05/01/15 $26,083.00 $37,606.00 40,00 3
MAYFIELD HEIGHTS CITY 19,155 CUYA USCMWO * BO 24 01/0115 12/31/17 01/01/15 $32,302.40 $50,585.60 40.00
% MENTOR CITY 47,159 LAKE  MFLU 1099 BC 62 03/31/14 = 03/80/17 ~—s-03/31/15 $39,046.13 $50,970.63 40.00 8,00 6
> NEW ALBANY 7,724 FRAN USWA “ BC 13° 124313 © ©610/3116 = =—01/01/15 $40,621.55 $51,317.87 40.00 8.00 5
I\~NORTH OLMSTED CITY 32,718 CUYA AFSCME8 2681 BC 46 O7/015 06/3018  O7/01/15 $41,246.40 $47,320.40 40.00 8.00 4 3
3 NORTH OLMSTED CITY 32,718 CUYA AFSCME8 2681 MU 16 07/01/12 06/3015 07/01/14 $42,182.40 $49,524.80 40.00 38.00 6 5
3 OBERLIN CITY 8,286 LORA IBEW 39 MU 38 8601/09/15 = 12/31/17 * 01/01/15 $38,688.00 $38,688.00 40.00 8.00 1
4 SANDUSKY CITY 25,793 ERIE AFSCMEB 1519 WW 84 01/01/13 = 12/81/45 = -01/01/15 + $32,176.00 $42,879.00 40.00 8.00 6
© SHELBY CITY 9,317 RICH  IUOE 188 WW 38 02/9/13 12/31/15  O1/01/15 $45,136.00 $49,254.40 40.00 8.00 4
{WESTERVILLE CITY _____ 96,20 __ FRAN USW 1 AC__§3_—— 1012 _oomaOS —tolot/14 $90,020.80 $5,811.20 4000 800 7
9 Count of Employers: 25 Average: $36,333.33 $46,652.77
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O Page 3 of 7

 

 

Ohio Council 8 1557
 

 

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State Employment Relations Board Clearinghouse
5 Benchmark Report
Se February 04, 2016
£ Effective Entry Top Hours/ Hours! # of Step
QO Employer Population County Union Local BU Size StartDate End Date Date Level Level Week Day Steps Years
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? PLUMBER
oO CLEVELAND HEIGHTS CITY 46,121 CUYA NPW 707 BC 106 04/01/14 03/31/15 04/01/14 $37,772.80 $47,715.20
09 EUCLID CITY 48,920 CUYA IBT 244 BC 11 01/01/15 12/31/17 01/01/16 $57,012.80 $57,012.80 40.00 8.00 1
st EUCLID CITY 48,920 CUYA AFSCME8 2509 £BC 29 01/01/15 12/31/17 01/01/15 $53,352.00 $53,352.00 40.00 8.00 1
O PARMAHEIGHTS CITY 20,718 CUYA FLU 2 BC 20 O1INS 1281/17 OVINE $53,705.60 $53,705.60 40.00 8.00 1 __
o Count of Employers: 4 Average: $50,460.80 $52,946.40
a SKILLED MAINTENANCE
oS ELYRIA CITY 54,533 LORA AFSCME8 277 WW s167 09/01/14 08/31/15 09/01/14 $42,084.85 $42,084.85 40.00 8.00 1
OT _  S  S_O9/0 1/14 $42,084.65 $42,084.85 40.00 800 1
al Count of Employers: 1 Average: $42,084.85 $42,084.85
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.. WATER TREATMENT PLNT OPER
oO
© AMHERST CITY 11,797 LORA AFSCME8 277 MU 23 01/01/14 12/31/16 01/01/15 $47,195.20 $52,436.80 40.00
LL CHARDON CITY 5,148 GEAU AFSCME8 3824 BC 18 06/30/14 06/25/17 06/30/14 $45,843.20 $58,531.20 40,00 6
d CIRCLEVILLE CITY 13,314 PICK . NUEO MU 29 05/10/15 05/08/17- 05/01/15 $32,302.40 $42,785.60 40.00 8.00 4
CI CLEVELAND CITY 396,815 CUYA * MCEO BG 04/01/13 03/31/16 04/01/15 $41,787.20 $45,656.00 40.00 8,00 3 2
©) COLUMBUS CITY 711,470 FRAN AFSCME8 1632 MU 2,263 04/01/14 03/31/17 04/01/15 $45,281.60 $55,016.00 40.00 8
+ COLUMBUS CITY 711,470 FRAN CWA 4502 MU 876 04/24/14 04/23/17 04/26/15 $44,595.00 $66,851.00 40.00 98.00 5
© DELAWARE CITY 34,753 DELA * WWT BC 15 01/01/14 12/31/16 01/01/15 $51,022.40 $60,174.40 40.00 8.00 5
A ELYRIA CITY 54,533 LORA AFSCME8 277 WW s167 09/01/14 08/37/15 09/01/14 $36,832.02 $38,336.48 40.00 38.00 3
GALION CITY 10,512 CRAW AFSCMES8 2243 MU 41 01/01/14 12/31/16 01/01/15 $34,840.00 $41,745.60 40.00 8.00 4 25
7 GRANVILLE VILLAGE 5,646 LICK AFSCME8 2963 MU 11 01/01/15 12/31/17 01/04/15 $30,909.00 $46,722.00 40.00 98.00 10 11
rs HEATH CITY 10,310 LICK AFSCME8 3439 MU 33 04/01/14 03/31/17 01/0115 $27,724.50 $33,339.30 40.00 8.00 5
N LONDON CITY 9,804 MADI AFSCMES8 1428 BC 47 12/01/13 12/01/16 12/0113 $37,876.80 $46,113.60 40.00 8.00 5 5
3 LORAIN CITY 64,097 LORA USWA 6621 WW 171 10/0111 = 09/30/14 §=— 10/01/12 $37,939.20 $42,140.80 40.00 3
oS MOUNT VERNON CITY 16,990 KNOX OCSEA 11 ~ MU 53 04/01/12 12/3115 01/01/15 $36,524.80 $42,598.40 40.00 98.00 6 5
4 NEWARK CITY 47,573 LICK AFSCME8 2963 WW _ 103 07/24/14 07/23N7 01/01/15 $41,745.60 $44,616.00 40.00 8.00 6
© NORTH OLMSTED CITY 32,718 CUYA AFSCME8 2681 BC 46 07/01/15 06/30/18 07/0115 $44,532.80 $52,208.00 40.00 8.00 4 3
oS OBERLIN CITY 8,286 LORA IBEW 39 MU 38 04/01/15 121117 01/0115 $39,936.00 $49,920.00 40.00 8.00 5
6 PORTSMOUTH CITY 20,226 SCIO. AFSCME8 1039, MU 98 05/01/12 04/30/15 05/0113 $31,054.40 $33,092.80 40.00 8,00 3
wo ROCKY RIVER CITY 20,213 CUYA * RRWE MU 15 01/0114 12/34/16 07/0115 $42,889.60 $49,275.20 40.00 8.00 2
v SHELBY CITY 9,317 RICH IUOE 185 Ww 38 02/19/13 12/31/15 01/01/15 $45,697.60 $45,697.60 40.00 8.00 4
O Page 4 of 7

 

 

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Ohio Council 8 1558
Case: 3:16-cv-01947-JGC Doc #: 32-1 Filed:. 12/06/17 20 of 43. PagelD #: 793

State Employment Relations Board Clearinghouse

Benchmark Report
February 04, 2016
- Effective Entry Top Hours/
Employer _ Population County Union Local BU Size StartDate End Date Date Level Level Week

Hours! # of Step
Day Steps Years

 

WILLOUGHBY CITY 22,268

Average: $40,417.05 $47,748.08

 

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State Employment Relations Board Clearinghouse

Benchmark Report

February 04, 2016
64 employers were included.

71 contracts were included.
5 total pages printed.

Additional Job Request Information:

Included only current contracts in report.

Population Range: N/A to N/A
Bargaining Unit Size Range: NIA to NIA
Start Date Range: N/A to NIA
End Date Range: N/A to NIA

Specified Employers: No Employers were specified.

Specified Bargaining Units: No bargaining units were specified.

 

 

 

 

 

Specified Jurisdictions:

Jurisdiction 1D Jurisdiction Name

Cl CITY

TW TOWNSHIP

Specified Regions:

Region _ Region Description BE Region Description
3 Cleveland NW

4 Columbus NG

 

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Ohio Council 8 1560
The following job titles were specified - only contracts
containing these Jobs were included in the report,

MAINT REPAIR WKR

PLUMBER

ELECTRICIAN

WATER TREATMENT PLNT OPER
LABORER

SKILLED MAINTENANCE

Specified Counties: No counties were specified.

Specified Unions: No unions were specified. :

Specified Employer Type: No employer types were specified,

Specified SU: —_No special units were specified.

 

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Case: 3:16-cv-01947-JGC Doc #: 32-1 Filed: 12/06/17 23 of 43. PagelD #: 796

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‘QF4/2017 * , a= Cuno 8

ae al °
i]: Gmail David Blyth <dbly54@gmall.com>

 

Contract 1
§ messages

- ae ou. tae =

Tarel Sandare <teni.sanders@cityofbellevue.com> Wed, Ju! 20, 2016 at 4:29 PM
To: Kevin Strecker <kevin,strecker@cityofbellevue.com>, Mike Lantz <mike.lantz@cityofbelevue.com>
Ce: “dblyS4@gmall.com" <dblyS4@amail.com>, Vick] Meyers <vickl. meyers@cltyofbellevue.com>

 

"iy Group One 206.2619 CBA; Final; 07-20-2016.paf
B peak

f° so fe shew

David Blyth <dblyS4@gmail.com> “Thu, Jul 24, 2016 at 9:58 AM
To: Teni Sanders <teni.sanders Gicityofbellevue.com>

HI Teni, thanks for your work on this, } am glad we are firially done, Hopefully soon we will wrap up fire and then we can
start all over again on that contract gy. Can you please send me a version of the Group One contract In Word format?
That way | can more easily incorporate changes In the document naxt time we do this.

David L. Blyth Jr.
Staff Representative
AFPSCME Onlo Council 8

Pfease do not use this e-maii address to request assistance conceming compleinis, dues, grievances, heath care,
pensions or other issues that miust be addreseed by your Loca! Union or Ohio Council 8, AFSCME, AFL-CIO staff
representative. Please contact your Local Union or Ohio Council 8 stalf representative in person or by telephone If you
have a time sensitive issue. Thia e-mail address does not serve as an official communication channel between
members and Ohia Council 8. if you are a member of Ohio Council 8, AFSCME, AFL-CIO, the best way to contact the
Union fs in person or by calling your Local Union officer(s) or Ohio Council 8 staff representative.

On Wed, Jul 20, 2016 at 4:39 PM, Teri Sanders <teni.sanders@cityofbellevue.com> wrote:

 

‘Terri Sanders <tem. sanders @cityafbellevue.com> ‘Thu, dul 24, 2016 at 10:04 AM
To; David Blyth <dblyS4@qmail.com>

Make sure you use “Review” then “Track Changes”!

 

From: David Blyth (malito:dbly54@gmail.com]

Sent: Thursday, July 21, 2016 9:58 AM

To: Terri Sanders <terri.sanders@cityofbellevue.com>
Subject: Re:Contractl -

[Querted text hidden)

PLAINTIFF'S ~~
EXHIBIT NO. 3 :

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Case: 3:16-cv-01947-JGC Doc #: 32-1 Filed: 12/06/17 24 of 43. PagelD #: 797

. 2NAI2017 Gmail - Contract 1
David Blyth <dbly54@qmall.com> , Thu, Jul 21, 2046 at 10:16 AM
To: Teri Sanders <tenl.sanders@cityofbellsvue.com> a
“Review” then “Track Changes” Do you mean when wa change tha contract next time’?

Bee L. Blyth Jr.
Representative
AFSCME Ohio Council 8

Please do not use this e-mail address io request assistance conceming complaints, dues, grievances, health care,
Pensions or other issues that must be addressed by your Local Union or Ohio Council 8, AFSCME, AFL-CIO staff
representative, Please contact your Local Union or Ohio Council 8 staff representative in person or by felephone if you
have a time sensitive issue. This e-mall address does not serve &$ an official communication channel between
mambers and Ohio Council 8. if you are a member of Ohio Council 8, AFSCME, AFL-C/O, the best way to contact the
Union is in person or by catting your Local Union cfficer{s) or Ohio Council 8 staff representative.

[Quoted text hidden}

Terri Sanders <teni.sanders@cttyofbellavue.com> Thu, Jul 21, 2046 at 10:51 AM

To: David Blyth <dbly54@gmai.com>

Yes, And for Fire.

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From: David Blyth [matlte:dblyS4@gmall.com}

Sent: Thursday, July 21, 2016 10:16 AM

To: Terri Sanders <terri.sanders@cityofbellevue.com>
Subject: Re: Contract 1

.

“Review” then “Track Changes” Do you mean when we change the contract next time?

David L. Blyth Jr.

Staff Rapresentative
AFSCME Ohio Council 8

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pensions or other issues that must be addressed by your Local Union er Ohio Council 8, AFSCME, AFL-CIO staff

have a time sensitive issue, This e-mail address doss not serve as an officiel communication channel between

members and Ohlo Council 8. If you are a member of Ohio Council 8, AFSCME, AFL-CIO, the best way to contact the
Union fs in person or by calling your Local Union officer(s) or Ohio Council 8 staff representative.

Gn Thu, Jul 21, 2016 at 10:04 AM, Tani Senders <teri.sanders@cityofbellevue,com> wrote:
Make sure you use “Review” then “Track Changes”! ,

 

From: David Blyth [mailto:dbly54@gmail.com]
Sent: Thursday, July 21, 2016 9:58 AM

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. Ohio Council 8 702
 

Case: 3:16-cv-01947-JGC Doc #: 32-1 Filed: 12/06/17 25 of 43. PagelD #: 798

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naan? G@hal- vomen
To: Terri Sanders <terri,sanders@cityofbellevue.com>
Subject: Re: Contract 1

Hi Tend, thanks for your work on this. | am glad we are finally done. Hopefully soon we will wrap up fire and then we
can start all over again on that contract fay. Can you please send me a version of the Group One contract In Word

ees way Tenia easily Incorporate changes in the document next time we do this.
aNnks,

Cavid L. Blyth Js.
Steff Representative
AFSCME Ohio Council 8

Please do not use this e-mail address to request assistance conceming complaints, dues, gevances, health care,
pensions or other issues that must be eddressed by your Local Union or Ohio Council 8, AFSCME, AFL-CIO staff
representative. Please contact your Local Union or Ohio Council 8 staff representative In person or by telephona if
you have a time sensitive issue. This e-mail address does not serve as an official communication channel between
members and Ohio Council 8. If you ara a member of Ohio Council 8, AFSCME, AFL-CIO, the bast way to contact
the Union is in person or by calfing your Local Union officer{s) or Ohio Council & staff representative.

On Wed, Jul 20, 2016 at 4:39 PM, Teni Sanders <terri.sanders@cityofbefevue.com> rote:
|

 

 

David Blyth <dbly54@qmall.com> —_ == Thu, Jul 24, 2016 at 14:28 AM
Jo: Teni Sanders <teri.sanders @cityafbefevus.com>

Cool thanks,

David L. Blyth Jr.
Staff Representative
AFSCME Ohio Council 8

Please do not use this e-mall address to request assistance conceming compieints, dues, grievances, health care,
pensions or other issues that must be addressed by your Local Union or Ohio Council 8, AFSCME, AFL-CIO staff
representative, Please contact your Local Union or Ohio Council 8 staff representative in person or by telephone if you
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Ohio Council 8 703

 
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242017 Gmail - Asking to schedule an LM
“1 Gmail David Blyth <dbly4@gmail.com>
Asking to schedule an L/M
6 messages . we
David Blyth <dbly54@qmallcom> Tue, Mar 11, 2014 at 11:05 AM

To: Jeffray Crosby <jeffrey.crosby@cityofbellevue.com>, *Susan DeMaria Locall 2571, Account/Payroll Clerk"
<susan.demarla@cityofbellevue.com>, "Kevin Strecker City of Bellevue, Local 2571, Chief Steward"
<kevinstrecker@hotmalt.com>, “Steve Smith Auditor, City of Bellevue” <steve@cooksmithcpas.com>

Hi Jeff, | am asking for an L/M to discuss Issues brought forward from a bargaining unit member. { have Tuesday the
48th available at 10 am; Thursday, the 20th at 930am, or Friday, all day. We would need Steve Smith, Kevin, and Susan
at tha meeting as well. ‘

Thanks,

David L. Blyth Jr.
‘Staff Representative -
AFSCME Ohio Council 8

Please do not use this e-mail address to request assistance conceming complaints, dues, grievances, health care,
pensions or other issues that must be addressed by your Local Union or Ohio Council 8, AFSCME, AFL-CIO staff
representative. Please contact your Local Union or Ohio Council 8 staff representative in person or by telephone if you
have a time sensitive issue. This e-mail address dogs not serve as an official communication channel between
members and Ohio Council 8. If you are a member of Ohio Council 8, AFSCME, AFL-CIO, the best way to contact the
Union Is in person or by calling your Local Union officer(s) or Ohio Council 8 staff representative.

 

Jeffrey Crasby ‘<Jeffrey.crosby@cityofbellevue.com> | OO . Tue, Mar 11, 2014 at 2:13 PM
To: David Blyth <dbly54@gmail.com>
Cc: "Staven D. Smith (ssmith@cooksmithepas.com)" <ssmith@cooksmithcpas.com>

David,

Before we take Steve's time up and everyone else’s time, Lead positions are Initiated and utilized at the discretion of
the Superintendent or supervisor of a department. There is nothing in the union contract that says a department
must have a lead person. We went through this at the wastewater plant and the water plant.

Thanks,

Jeff Crosby .
419-484-8400

    
  
 
   

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DATE: io “pera AY

From: David Blyth [mailto:dbty54@gmail.com]

Sent: Tuesday, March 11, 2014 11:06 AM 7

To: Jeffrey Crosby; Susan L. DeMaria; Kevin Strecker City of Bellevue, Local 2571, Chief Steward; Steve Smith Auditor,
City of Bellevue ,

Subject: Asking to schedule an L/M

[Quoted text hidden}

 

David Blyth <dblyS4@gmall.com> | | | Tue, Mar 41, 2014 at 2:35 PM
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Ohio Council 8 1075
 

Case: 3:16-cv-01947-JGC Doc #: 32-1 Filed: 12/06/17 27 of 43. PagelD #: 800

QNnaani7 * : Gmail - Asking to schedule an L/M
To: Jeffrey Crosby <jeffrey.crosby @cityofbellavue.com>

| agree that there is no language that compels a Lead position but there seems to be more to the situation. We have
some points to ralse that wa think should be considered by management.
| am respectfully asking if we can meet with just you so you can hear us out? Thanks, Dave
{Quoted text hidden]

 

Jeffrey Crosby éjeffrey.crosby @cityofbellevue.com> Tue, Mar 41, 2014 at 3:09 PM
‘To: David Blyth <dbly54@gmail.com>
Ce: "Steven D. Smith (ssmith@cooksmithcpas.com)" <ssmith@cooksmithcpas.com>

That’s fine David but | am not going to ask Steve smith to be there. It Is his busiest time of year

Thanks,

Jeff Crosby
419-484-8400

From: David Blyth (mailto: dblyS4@gmail.com]
Sent: Tuesday, March 11, 2014 2:36 PM

To: Jeffrey Crosby

Subject: Re: Asking to schedule an L/M

[Quoted text hidden]

 

David Blyth <dbly54@gmail.com> | Tue, Mar 11,,2014 at 3:15 PM
To: Jeffray Crosby <jeffrey.crosby@cityofbellevue.cam>

| understand and appreciate it. Thanks Jeff. Dave
{Quoted text hidden)

 

David Blyth <dblyS4@gmail.com> — Tue, Mar 11, 2014 at 3:16 PM
To; Jeffrey Crosby <jeffray.crosby @cityofbellevue.com>

just let me know what date/time works for you.
[Quoted text hidden}

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Ohio Council 8 1076
 

Case: 3:16-cv-01947-JGC Doc #: 32-1 Filed: 12/06/17 28 of 43. PagelD #: 801

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David Blyth <dbly54@gmail.com>

 

 

‘Local 2571 Grievances
2 messages

 

PeterSackett <poloreackettlaw@sboglobal net> Wed, Jul 6, 2016 at 8:32 AM
To: Blyth David <dbly54@gmail.com> .
Ce: Lantz Mike <mike.lantz@cityofbellevue.com>

David: a union employes has alleged that certain grievances were filled on her behalf. We only have a partlal (we
believe) copy of one from 2014.

If | gave you the name of the employee, are you able to forward copies of all of the grievances filed?

Note - this employee is threatening to sue Bellevue for variaus alleged civil rights violations. Counsel for the employee
has alleged that grievances were filed - we only have part of one.

Your cooperation is greatly appreciated.
Peter.

Mr. Petar Sackett

Attomey at Law
PeterSackettLaw.com (Website)
PeterSackettLaw@sbeglobal.net
(Email address)

PO Box 771306

Lakewood, OH. 44107
216-781-7095 Telephone
216-803-2131 Fax

216-780-5611 Text

Skype ID - PeterSackett
Currently accepting credit card and PayPal payments.

 

David Biyth <cbiyS4@agmall com> Wed, Jul 6, 2016 at 10:33 AM
To: PeterSackett <petersackettlaw@sbegiobal.net>

Hi Pete, | am attaching Susan's grievance and the City's response. Susan wanted to arbitrate this, but it was denied. Not
because we didn't think that she should receive a pay ralse; but because there was no language in the CBA which would
compel the City to grant her the increase. | checked my files and have no other grievances regarding this subject.
Should you have any questions, feel free to contact me.

Thanks,

David L. Blyth Jr.
Staff Representative
AFSCME Ohio Council 8

Please do not use this e-mail address to request assisfance conceming complaints, dues, grievances, health care,
pensions or other issues that must be addressed by your Local Union or Ohio Council 8, AFSCME, AFL-CIO staff
representative, Please contact your Local Union or Ohio Council 8 staff representative in person or by telephone if you
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members and Ohio Council 8. If you are a member of Ohio Council 8, AFSCME, AFL-CIO, the best way to contact the
Union is in person or by cailing your Local Union officer(s) or Ohic Council 8 staff representative.

(Quoted text hidden)

 

2 attachments
aM mangement answer to Susan's grievance.pdf

    

2 PLAINTIFF’S
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a Susans Jeadman grievance.docx
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Ohio Council 8 774

 
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Case: 3:16-cv-01947-JGC Doc #: 32-1 Filed: 12/06/17 29 of 43. PagelD #: 802

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AFSCME OHIO COUNCIL 8 - LOCAL 2577

Tr Grievance# OD-\4- Dow, .
: ny " Employee's Name: Gi wea Tew OW | bate: N\ ic | |
Employee's Classification:. Finance len of ,

Supervisor: Steve Sp wth

Department; Fy NONCO, |
Employee's Signature: Jel Cros by.

Union Rep’s. Signature:

 

 

 

 

 

 

 

 

 

 

 

 

Grievance: Scan - Date Submitted ‘aS
. Step 1 [v ]
See MWradnod, here: Step2[ |
: Step3[ ]
Step4{ ]

 

 

 

 

 

 

Articles of Contract Violated: Aytirfo. 4 .

 

 

 

 

Remedy Desired: See AW ded Si \eet- 2

 

 

 

 

Answer from Step 1: \ The, Oks wey: NS Wud a are.

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Supervisor, AG oo. _ f_ -2 6+ |

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Answer from Step 2:
Supervisor: Date:
Answer from Step 3:
Supervisor; _ Date:
* Answer from Step 4:
Supervisor: Date:
{Date Submitted to Arbitration:

 

 

 

Ohio Council 8 775
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Case: 3:16-cv-01947-JGC Doc #: 32-1 Filed: 12/06/17 30 of 43. PagelD #: 803
owe {USS Pre

GRIEVANCE: Based on both her job description and a review of her routine activities as a
Finance Lead Person, the grievant believes she is doing work that qualifies her to receive pay
equal to that of the other “Lead Person,” positions that EXISTS elsewhere within THE
Bargaining Unit. That pay is currently HER JOB RESPONSIBILITIES ARE AT a
MINIMUM EQUAL TO ALL CURRENT LEAD POSITIONS AND IN some cases, EXCEED
THE RESPONSIBILITIES of certain Lead Persons.

SHE IS CURRENTLY SUPERVISING 3 FULL TIME EMPLOYEES AND A TEMP
WORKER. SHE OVERSEES ALL PERSONNEL IN THE FINANCE DEPARTMENT,
MONITORS PERFORMANCE, TRAINS PERSONNEL, ASSIGNS DAILY TASKS,
PROVIDES DIRECTION, AND RESPONDS TO QUESTIONS from the employees she

directs.

The greivant IS RESPONSIBLE FOR making DECISIONS on a daily basis CONCERNING
THE OPERATIONS OF the UTILITY, FINANCE, AND PAYROLL departments (or areas, if
that is more accurate). SHE MAINTAINS consistent, reoccuring CONTACT WITH HER
SUPERVISOR and has done so FOR THE PAST 2 % YEARS. SHE IS CONTINUOUSLY
BEing ASKED (or are you required?) TO PERFORM DUTIES OUTSIDE OF HER

JOB CLASSIFICATION WITHOUT receiving additional COMPENSATION.

REMEDY: GRIEVANT IS REQUESTING: A LABOR MANAGEMENT MEETING TO
discuss and RESOLVE THE ABOVE ISSUES. Greivant is seeking to be MADE WHOLE FOR
ALL LOSSES SUFFERED; for the GRIEVANT TO BE AWARDED EQUAL PAY FOR
EQUAL WORK/RESPONSIBILITIES; for the GRIEVANT TO BE AWARDED BACK PAY
retroactively TO SEPTEMBER 2012.

Ohio Council 8 776

 
 

Case: 3:16-cv-01947-JGC Doc #: 32-1 Filed: 12/06/17 31 of 43. PagelD #: 804
ul ERE OSM ETT OF BELLEVUE No 1167. 3/5

Based on my job description and a review of my routine activities as a Finance Lead
Person, | believe | am doing work that qualifies me to receive pay equal to that of the
other “Lead Person,” positions that exist elsewhere within the Bargaining Unit. My base

_ pay of $20.33 is $3.47 less than any other Lead Worker in the City yet my job
responsibilities are at a minimum equal to all current Lead positions and in several
cases exceed the responsibilities of other Lead Persons.

| am currently supervising 3 full-time employees and a temporary worker. | oversee all
personnel in the Finance Department, monitor their performance, train personnel in my.
department and throughout the City on Finance issues and software. | assign daily
tasks, provide direction and respond to questions from all City employees.

| am responsible for making decisions on a daily basis concerning the operations of the
Utility, Finance and Payroll divisions. | am required to do Federal and State reports, |
maintain consistent, reoccurring contact with my supervisor, Steve Smith City Auditor.

| have been put in this position since September of 2011. | am continuously being
asked to perform duties outside of my job classification without receiving additional
compensation. When | take a vacation or a day off, | take my laptop and work from
wherever I’m at because there is no one else that can do some of my responsibilities
and they are time sensitive,

' Digitally signed by SUSAN L DEMARIA
SUSAN L. DEMARIA fxs
‘ A amail=SUSAN,DEMARIA@CITYOFBELLEVUECOM, caUS

~~ Date? 2014.04.29 10:07:16 -04'00"

 
 

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Case: 3:16-cv-01947-JGC Doc #: 32-1 Filed: 12/06/17 32 of 43. PagelD #: 805

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Ohio Council 8 1480
 

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Ohio Council 8 1481
 

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Street Maintenance Crew Leader Additional Duties

Communicate with other department heads to obtain additional help.
Get price quotes on material.
Receive all emergency calls day and night.
Handle public complaints.
Settle department disagreements.
Arrange all job assignments,
Purchase material supplies.
Keep track of overtime.
Call out men for overtime.
Arrange all employees needed from other departments.
Establish and maintain snow plow crews.
Communicate with local business for delivery of material (salt etc.) and keep track of the
amount delivered and when.
Keep track of all equipment used or lent out throughout the city.
Set up all-races, festival, walk, runs, parades with the committees organizing them.
Do all sideway inspections.
Keep track of sign inventory make a report for the state.

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Cemetery Sextons Crew Leader

Reason for requesting upgrade in base rate, job duties that I took over after retirement of Denise
Raifsnider. Noreen Carrol and Susan DeMaria said they did not have the time to continue those

duties.

Deeds Books

Receipt Books

Card Files

Interment Books

Filing of Cemetery and Foundation order forms and death certsticates and certificate of
cremations

6. Receiving all cemetery correspondence

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State Auditors check some of these items and so they need to be kept up to date.
Jim Dendinger
Cemetery Sexton - Crew Leader

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Local 2571 Group One 2013 contract negotiations as of 02-13-13 (revised)

TAed proposals: . .

1, Article One- added to recognition: Water Treatment Plant Crew Leader
Account Clerk | changed to Finance Clerk | and Income Tax Accountant Clerk 2 to Finance Clerk 2
Added “street” to Maintenance Tech position {ours)

 

2. Article 5- added grievance mediation (ours)
3. Article 9- removed reference to Fire Chief {joint proposal)

4. Article 10- added Bargaining Unit seniority (ours)

5. Article 11- New employees may be hired though temp. We have counter on this: We can agree,
but add language that seniority starts at date of hire if successfully pass original probationary
period. They signed off on it today (theirs)

6. Article 12- changed order of layoff from part time, seasonal, or temporary to temporary,
seasonal, part time (ours)

7. Article 15- Comp time bumped up from 136 hours to 200. It had been 240 hours at one time.
After this was rejected, we proposed increase to 160 hours. They signed off on it today. (ours)

8. Article 25- Conversions currently unlimited; want to reduce to quarterly only unless an
emergency. We countered with 8 conversions; no emergencies allowed. We signed off on it
today. {theirs)

9. Article 27- added opt out of City’s(hospitalization) insurance plan (ours)

10. Article 31- added language that requires the employer to contact the Local presivent for input
before subcontracting out (ours)

11. Article 43- Duration; 3 year CBA (joint proposal)
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Pending Management proposals: J
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1. Vacation carry over reduced from three to one years. Fire agreed to a reduction to 2 years.

2. Delete 26 weeks of extended sick leave at 60% of hourly rate. This would apply to all BU
members regardless of hire date. We countered with: employees presently able to take extended
leave one each contract, will only be able to do it once during their employment with the City.

3. No Longevity for new hires. We countered with new hires will not have longevity rolled into base
pay. They still did not agree.

Ohio Council 8 1332

 
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4, Health Care- increases on prescription drug card: increase by $5.00 for generic and Brand Name;
new category: Formulary, to cost $50.00. Deductibles to double, but can avoid that by using the
City’s proposed Wellness Program; each target reached reduces deduction by $50.00.

Pending Union proposals:
1. Increase in Longevity pay. They have rejected this proposal

2. Increase in clothing allowance from $600.00 back to $800.00, And for Clerical from $150.00 to
$450.00. (they agreed only to Clerical). We countered with an increase of $700.00. They rejected

this today.

3. Non-bargaining unit employees cannot bump into the bargaining unit. They have rejected this. |
would rather not close out the contract without this language added. They agreed to this today.
We will sign off on this next time.

4. 4% pay increase for each year of the Collective Bargaining Agreement. They have rejected this.
-They have offered the same package of 3%, 2%, and 1% if we give up Longevity for new hires and
delete 26 weeks extended sick leave totally.

5. Meter Reader from $19.87 to $21.28, Cemetery Sexton/Crew Leader from $22.15 to $22.66,
and Street Maintenance Crew Leader from $22.10 to $22. 66. This was not rejected out of hand;
Jeff made comments that suggested he was open to it.

Withdrawn Union proposals: .
1. Change Lay off language from 2 years to “indefinite.”

2. Employees normaily working on Easter Sunday to be paid at time and a half. They countered
with an offer to allow employees to exchange vacation pay from another holiday for Easter
Sunday.

Withdrawn Management proposals:

1, Call back pay reduced from three to two hour minimum. We will submit an MOU that we think
addresses this issue. Management withdrew this proposal today.

Ohio Council 8 1333

 
